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     UNITED STATES                        )      UNITED STATES DISTRICT COURT
                                         )       FOR THE DISTRICT OF NEW JERSEY
                                         )
            v.                           3
                                         3       DOCKET NO. 08-327 (SRC)


     ERIC MAlONE                         )       ORDER EXTENDING
                                                 SURRENDER DATE



             This matter HAVING COME BEFORE THE Court on the motion of defendant
     Eric Maione, by his attorney Donald F. Manno, Esq. for an order extending the time to
     surrender on the sentence imposed by this Court on February 10, 2011; and the United
     States being represented by Assistant United States Attorney Bohdan Vitvitsky, Esq.; and
     for good cause shown:

            IT IS ONTHISO_dayof September, 2011;

              ORDERED that Eric Maione shall surrender on October 15, 2011 to the
     institution designated by the United States Bureau of Prisons.




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                                        STANLEY F CHESLER
                                        Unitd States District Judge
